 Case 10-93904-BHL-11             Doc 2403     Filed 10/28/13        EOD 10/28/13 09:40:53       Pg 1 of 5
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                         NEW ALBANY DIVISION

IN RE:                                                )        Chapter 11
                                                      )
EASTERN LIVESTOCK CO., LLC,                           )        Case No. 10-93904-BHL-11
                                                      )
                        Debtor.                       )        Hon. Basil H. Lorch III

                                            NOTICE OF HEARING

      The Fifth Interim Application of James A. Knauer for Compensation and Reimbursement of
Expenses as Chapter 11 Trustee (ECF No. 2402) was filed with the Clerk of this Court on October 24,
2013.

        Movant seeks allowance of $65,740.00 in compensation and out-of-pocket and website expenses
incurred in the amount of $1,386.84 and $2,047.25 during the period March 1, 2013 and August 31, 2013.

        NOTICE IS HEREBY GIVEN that any objections to the relief requested in the above document
must be filed in writing in accordance with Local Rule S.D. Ind. B-9013-1 with the Clerk's Office and served
on the attorney for the moving party and the Service List November 13, 2013. Persons not required or not
permitted to file electronically must deliver any objections by U.S. Mail, courier, overnight/express mail, or
in person at:

               Clerk, U.S. Bankruptcy Court
               110 US Courthouse
               121 W. Spring Street
               New Albany, Indiana 47150

               The Court will hold a hearing on:

               Date:              November 18, 2013
               Time:              2:00 P.M. EDT
               Place:             121 W. Spring Street, Room 103, New Albany, Indiana

        Motions for continuances must be filed as soon as the cause for continuance or delay is discovered
by the party requesting the continuance, or no later than three (3) days before the date of the hearing.

        The dial-in telephone number for interested parties to participate in the hearing by conference call
is 1-888-399-7768; passcode 586676, followed by the pound ("#") key.

       The original of the document is on file with the Clerk's Office and is available for inspection upon
request.

Dated: October 24, 2013
                                                Respectfully submitted,

                                                KROGER, GARDIS & REGAS, LLP

                                                By:        /s/ James A. Knuaer
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 Case 10-93904-BHL-11                  Doc 2403   Filed 10/28/13        EOD 10/28/13 09:40:53      Pg 2 of 5


                                          CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2013, a copy of the foregoing pleading was filed
electronically. Notice of this filing will be sent to the following parties through the Court's
Electronic Case Filing System. Parties may access this filing through the Court's system.

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        I further certify that on October 28, 2013 a copy of the foregoing pleading was mailed
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 Case 10-93904-BHL-11          Doc 2403   Filed 10/28/13    EOD 10/28/13 09:40:53        Pg 5 of 5
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